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  8
  9                              UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
12 CHRISTONE FELTZS, on behalf of                    Case No. 8:19-cv-02002-JVS-JDE
      himself and others similarly situated
13                                                   Assigned to Hon. James Selna
                              Plaintiff,
14                                                   MEMORANDUM OF POINTS AND
      v.                                             AUTHORITIES IN SUPPORT OF
15                                                   DEFENDANTS’ MOTION FOR
      COX COMMUNICATIONS CAL.,                       SUMMARY JUDGMENT OF
16 LLC, a Delaware Limited Liability                 CERTIFIED CLASS CLAIMS
      Company; COX ENTERPRISES, INC.,
17 a Delaware Corporation; COX                       [Filed concurrently with Notice of
   COMMUNICATIONS, INC., a                           Motion, Statement of Uncontroverted
18 Delaware Corporations; and DOES 1                 Facts and Conclusions of Law,
   through 100, inclusive,                           Appendix of Evidence, and [Proposed]
19                                                   Order]
                              Defendants.
20                                                   DATE:         October 25, 2021
                                                     TIME:         1:30 PM
21                                                   CRTRM:        10C
22                                                   Complaint Filed: July 26, 2019
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  1 I.         INTRODUCTION AND SUMMARY OF ARGUMENT
  2            Defendants Cox Communications California, LLC and Cox Communications,
  3 Inc. (collectively “Cox”) now move the Court for summary judgment as to all the
  4 claims the Court certified for class treatment as well as the derivative PAGA claims
  5 based on the same theories as the certified claims (i.e., for failure to pay wages due
  6 to rounding, failure to provide accurate wage statements, and failure to pay all final
  7 wages owed). All of these claims fail as a matter of law on a classwide basis.
  8            Following certification, the parties’ respective experts have evaluated the full
  9 set of class timekeeping and pay data and have prepared sworn declarations
10 summarizing what the data reflects concerning the impact of rounding time on
11 Cox’s calculation of employee work hours. The two experts reveal no material
12 discrepancy on any statistic concerning the impact of rounding. Under the
13 controlling cases that have identified the statistics relevant to assessing the
14 lawfulness of a rounding system, all the relevant statistics support Cox’s position
15 that its rounding system complies with California law. In his cross-motion, Plaintiff
16 argues the opposite, but neither side argues that the facts are materially disputed.
17             Separate from the claim that Cox’s system “underpays UHTs” for what they
18 are allegedly owed in wages, Plaintiff separately contends that Cox has violated an
19 alleged rule to show on the wage statement the total hours worked by UHTs as
20 measured by their “raw” punch entries rather than as rounded. To be clear, Plaintiff
21 argues that this is a requirement even if Cox was lawfully entitled to round time for
22 purposes of calculating hours worked. Plaintiff is simply wrong on the law here.
23 Where an employer lawfully uses rounded time entries to calculate the hourly wages
24 it pays its employees, it must use those same rounded time entries to report “hours
25 worked” on employees’ itemized wage statements. It is simply a made-up rule that
26 has never been recognized in any case (published or unpublished) that Cox had a
27 separate burden to list the “raw time” entries on the wage statement that were not
28 used to calculate wages. Indeed, imposing such a rule would only lead to employee
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  1 confusion as seeing dueling “hours worked” figures would undermine the entire
  2 purpose of the law to help employees understand how they were paid.
  3            In addition, even if the Court were now to reject the long line of authority that
  4 held materially identical time rounding systems to be lawful under California law,
  5 Cox would still be entitled to summary judgment on Plaintiff’s claims for wage
  6 statement and waiting time penalties arising from his “unlawful rounding” theories.
  7 An essential condition to recover either type of penalty is that the employer lacked a
  8 reasonable, good faith belief that its practices were lawful. But there is no basis to
  9 argue that Cox lacked such a belief given that (a) it relied on the well-established
10 precedents discussed below in the brief, (b) the DLSE Enforcement Manual states
11 that employers can utilize the rounding practices adopted by Cox, and (c) the San
12 Diego Superior Court expressly ruled in Cox’s favor in 2010 in Lassiter v. CoxCom,
13 Inc., Case No. 37-2008-00084510-CU-OE-CTL, that Cox’s same rounding system
14 fully complied with California law. At a minimum, Cox was reasonably entitled to
15 rely on a court opinion it received such that, as a matter of law, Cox cannot be
16 subjected to waiting time or wage statement penalties for continuing to round time
17 in the same manner since 2010. Accordingly, even if Cox were required to change
18 its rounding system now, the Court should grant summary judgment as to claims to
19 recover penalties for any alleged rounding violations during the class period.
20             Finally, to the extent Plaintiff has asserted claims that are wholly derivative of
21 the allegation that Cox’s rounding system underpaid employees for hours worked
22 (e.g., the UCL claim or final wages claim), those claims cannot survive a ruling that
23 Cox’s rounding system was lawful and was a proper method to calculate employee’s
24 hours worked for pay purposes. As such, if the rounding system is deemed lawful,
25 those claims necessarily fail as a matter of law.
26             For all of these reasons, Cox respectfully request that the Court grant the
27 instant motion in full and deny Plaintiff’s anticipated cross-motion.
28
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  1 II.        SUMMARY OF RELEVANT FACTS
  2            A.       Cox’s Business in California and Its Employment of Universal
                        Home Technicians
  3
               Cox is one of the nation’s primary cable companies. At all relevant times,
  4
      Cox has employed UHTs to support its residential cable customers. UHTs perform
  5
      such services as installing and troubleshooting issues concerning residential internet,
  6
      telephone, and video service. UHTs work in the field without direct supervision
  7
      throughout the work day at customer residences. 1
  8
               B.       Cox’s Timekeeping System for UHTs and Practice of Rounding
  9                     Time Entries to the Nearest 15 Minutes
10             At all relevant times, Cox has rounded non-exempt employee time entries
11 recorded in the timekeeping system to the nearest 15-minute increment. Thus, for
12 example, a clock entry of either 7:57:20 a.m. or 8:03:09 a.m. would be rounded to
13 8:00 a.m. Cox used these rounded time entries for purposes of calculating the hours
14 UHTs worked, which in turn were used to calculate their pay and report their “hours
15 worked” on itemized wage statements. Cox notifies its UHTs during the onboarding
16 process that it rounds time and how rounding operates.2
17             UHTs clock in and out themselves from remote locations. The UHTs clock in
18 and out from the field through an application that is accessible through their Cox
19 phone or a tablet computer Cox provides them which captures the specific time they
20 either clocked in or out.3 Cox operates under an honor system where UHTs are
21 instructed to clock in when they start work and clock when they go off work. UHTs
22 also certify the accuracy of their time each pay period, which includes an
23 acknowledgement that they recorded their work hours accurately. For this
24 authentication, UHTs view their raw, unrounded time entries.4 Because UHTs
25
26
               1
                        Declaration of Linda Kavanagh (“Kavanagh Dec.”) ¶ 2.
               2
                        Kavanagh Dec. ¶ 3.
27             3
                        Kavanagh Dec. ¶ 4.
28
               4
                        Kavanagh Dec. ¶ 4.
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  1 work all day in the field outside direct supervision and clock in and out remotely,
  2 when they are in the field they have the ability to take extended breaks on the clock
  3 while the timekeeping system reflects they were working. Cox assumes for
  4 timekeeping purposes though that they are clocking in and out honestly. 5
  5            C.       The Parties’ Experts Are in Material Agreement on the Specific
                        Impact of Rounding on UHTs’ Hours Worked Over the Entire
  6                     Five-Year Class Period
  7            Following class certification here, both counsel had their respective experts
  8 analyze Excel spreadsheets of timekeeping and pay data for all UHTs in California
  9 for the entire class period to analyze the impact Cox’s rounding system had over that
10 period. Cox’s expert is Scott Sternberg and Plaintiff’s expert is Bennett Berger and
11 they have both submitted declarations setting forth their findings. Both used a
12 software program to conduct a mechanical, objective exercise that compared the
13 difference between raw and adjusted time values (to account for rounding). 6
14             Mr. Sternberg analyzed the impact of rounding using two separate methods
15 that generated very similar results. First he looked solely at the raw timekeeping
16 data spreadsheet, which showed the specific “punch” times captured by Cox’s
17 timekeeping system (measured to the second). He then replaced each punch time
18 value with the value achieved by rounding that entry to the nearest 15 minute
19 increment to match the method Cox undisputedly uses to round time. He then
20 measured the results under various metrics that all were based on the difference
21 between the “raw” and “rounded” time values.7 His primary findings were that:
22                  • Over 342,798 shifts he analyzed, rounding decreased total hours in
23                    198,868 (58.0%) of the shifts, increased total hours in 111,361 (32.5%)
                      of the shifts, and had no impact in 32,569 (9.5%) of the shifts.
24
                    • The aggregate impact of rounding was to reduce total hours by
25
26             Kavanagh Dec. ¶ 4.
               5

               Declaration of Scott Sternberg (“Sternberg Dec.”) ¶¶ 6-36; Declaration
               6
27 of Bennett Berger (“Berger Dec.”) ¶¶ 9-11.
28
         7
               Sternberg Dec. ¶¶ 7-16.
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  1                     9,407.30 hours, representing a reduction of .28% of all recorded hours.
  2                • Divided by the number of shifts (most of which were 10 hours), the
  3                  rounding impact translates into an average reduction of 99.5 seconds
                     per shift (1.66 minutes). 8
  4
  5            Second, Mr. Sternberg compared the raw daily timekeeping dataset to a

  6 separate dataset that showed the hours that Cox ultimately had paid to the UHTs for
  7 the same workdays. While rounding was the primary cause of the datasets differing,
  8 it was impossible to isolate the impact of rounding from other reasons for
  9 adjustments (e.g., manual adjustments to correct errors). Indeed, in 2,588 shifts,
10 Sternberg deemed the result anomalous because the difference in the raw and paid
11 values could not be attributable to rounding (e.g., the difference was greater than the
12 maximum 30 minutes that could result from rounding). Assuming, however, that all
13 differences between the “raw” and “paid” calculation of time for the same shift that
14 could be attributed to rounding were the result of rounding, the same aggregate
15 statistics for the class are impacted only to a trivial degree:
16                 • Over 340,210 shifts, rounding decreased total hours in 199,539 (58.7%)
                     of the shifts, increased total hours in 111,406 (32.7%) of the shifts, and
17
                     had no impact in 29,265 (8.6%) of the shifts.
18
                   • The aggregate impact of rounding was to reduce total hours by
19                   9,314.50 hours, representing a reduction of .28% of all recorded hours.
20                 • Divided by the number of shifts, the net rounding impact translates into
21                   a reduction of 98 seconds per shift (1.63 minutes).9

22             In comparison, Plaintiff’s expert utilized only the second method of

23 measuring rounding (comparing the raw and paid time datasets). In fact, Plaintiff’s
24 expert admitted that his method of comparing the raw and paid datasets did not
25 isolate the impact on rounding time from other administrative adjustments that may
26 have occurred to time entries and that he did not cross-check his method by
27             8
                        Sternberg Dec. ¶¶ 12-15.
28
               9
                        Sternberg Dec. ¶¶ 17-21.
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  1 manually rounding all the raw entries to see if it achieved the same result as
  2 comparing the results of the raw and paid datasets.10
  3            In Mr. Berger’s methodology, he ignored any shift if the shift length was
  4 more than 24 hours, if there were punches in and out that were fewer than 3 minutes
  5 apart, or if the change from “raw” to “paid” was more than an hour. 11 These
  6 anomalies impacted fewer than 1% of the shifts in the data.12 Mr. Berger admitted
  7 however, that rounding to the nearest 15 minutes could not cause a difference
  8 between the raw and paid time of a given person on a given day of more than 30
  9 minutes given that each of the four punches was altered no more than 7.5 minutes
 10 (to be adjusted to the nearest 15-minute increment) and 4 daily punches times 7.5
 11 minutes is 30 minutes rather than an hour.13 The slight difference in the experts’
 12 exclusion of shifts as anomalies caused their conclusions to vary slightly on the
 13 comparison of daily “raw” time and “paid” time data. Berger’s conclusions on the
 14 same statistics that Mr. Sternberg evaluated show the experts have no material
 15 disagreement on the numbers:
 16                 • Over 339,768 shifts, rounding decreased total hours in 197,795 (58.2%)
 17                   of the shifts, increased total hours in 110,514 (32.5%) of the shifts, and
                      had no impact in 31,459 (9.3%) of the shifts. These figures are all
 18
                      within a fraction of a percentage of Mr. Sternberg’s numbers.
 19
                    • The aggregate impact of rounding was to reduce total hours by
 20                   9,317.50 hours. This is a difference from Mr. Sternberg of less than
 21                   .01%.

 22                 • The net rounding impact translates into a reduction of 98.7 seconds per
                      shift (which Mr. Berger reported as 1.6 minutes). This also comes
 23
 24            10
                   Deposition of Bennett Berger (Vol 2) (“Berger Dep.”) 46:10-25, 48:19-
 25   49:9, 49:24-51:22 (Mr. Berger’s depositions cites herein are collected as Exhibit D
 26   to the concurrently-filed Appendix of Evidence).
             11
                   Berger Dep. 52:24-53:17.
 27          12
                   Berger Dep. 56:9-11.
 28
             13
                   Berger Dep. 53:18-55:3.
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  1                     within a fraction of a second of Mr. Sternberg’s figure.14
  2            Mr. Berger also reported on a statistic that Mr. Sternberg had not considered
  3 relevant—the number of UHTs who experienced a net increase or decrease,
  4 whatever the net magnitude of the difference (e.g., a 1-minute aggregate decrease
  5 for one UHT was weighed the same as an aggregate 2-hour increase for another
  6 UHT). For that specific metric, Mr. Berger counted 462 UHTs with an aggregate
  7 decrease of at least 1 minute verses 109 with an aggregate increase of at least one
  8 minute.15 Mr. Sternberg confirmed in his declaration that, although he believes the
  9 metric to be meaningless, he concurred with Mr. Berger’s count of the number of
 10 employees’ whose aggregate time was decreased or increased by more than one
 11 minute over the entire class period due to rounding. 16
 12            D.       Cox’s Pay Period and Provision of Wage Statements
 13            The pay period for Cox non-exempt employees in California is every two
 14 weeks. Their wage statements contain each of the following items of information:
 15 (1) gross wages earned, (2) total (rounded) hours worked by the employee, (3) all
 16 wage deductions Cox applied, (4) net wages earned, (5) the inclusive dates of the
 17 period for which the employee is paid, (6) the employee’s name and Employee ID
 18 number, (7) Cox’s name and address, and (8) all applicable hourly rates in effect
 19 during the pay period and the corresponding number of hours (as rounded) worked
 20 at each hourly rate. The hours worked are shown based on the rounded time entries
 21 Cox uses to pay the employees. 17
 22            E.       Plaintiff’s Various Claims in this Lawsuit That Are Premised on
                        The False Notion That Rounding Time Violates the Labor Code
 23
               Plaintiff has two distinct theories as to why he believes Cox’s rounding
 24
      system allegedly violates California law.
 25
 26
               14
                        Berger Dec. ¶ 11; Berger Dep. 57:7-61:25.
               15
                        Berger Dec. ¶ 11(e); Berger Dep. 64:18-65:7.
 27            16
                        Sternberg Dec. ¶ 29.
 28
               17
                        Kavanagh Dec. ¶ 5; Ex. C.
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  1            First, Plaintiff argues that to the extent the aggregate effect of Cox’s rounding
  2 was to reduce UHTs’ total of hours worked, it is unlawful and Cox must pay UHTs
  3 for any “underpayment” caused by rounding punches to the nearest 15-minutes.
  4            Second, he argues that even if rounding increases a UHT’s time, the fact that
  5 Cox reports the rounded hours as hours worked violates the wage statement law
  6 because it does not “accurately” report “hours worked.” Instead, Plaintiff contends
  7 that Cox must report on the wage statement the total raw hours the UHTs recorded
  8 during the pay period, even assuming Cox is lawfully allowed to use rounded time
  9 entries to pay UHTs wages.
 10 III.       LEGAL ARGUMENT
 11            A.       Plaintiff’s First Cause of Action for Failure to Pay Wages Due To
                        Rounding Fails Classwide As a Matter of Law
 12
                        1.    The Controlling Case Law Deeming Rounding Systems
 13                           Lawful Is Not Materially Distinguishable From This Case
 14            Plaintiff’s First Cause of Action is based entirely on a false premise that
 15 California law prohibits employers from rounding time entries to the nearest 15
 16 minutes except in situations where the rounding increases the time from the “raw”
 17 time entry. In fact, both the Ninth Circuit and multiple California Courts of Appeal
 18 decisions have rejected this very same argument.
 19            First, in See’s Candy Shops, Inc. v. Superior Court, 210 Cal. App. 4th 889,
 20 903 (2012), the court addressed a pay system that rounded time to the nearest tenth
 21 of an hour. The court recognized “that time-rounding is a practical method for
 22 calculating work time and can be a neutral calculation tool for providing full
 23 payment to employees.” Id. at 903. California (as reflected in official DLSE
 24 guidance) has thus adopted the federal standard that generally permits rounding to
 25 the nearest tenth or quarter of an hour, so long as the rounding is evenhanded (i.e.,
 26 not in one direction only). Id. at 902, 907. Indeed, [r]ounding is lawful so long as
 27 “the employer applies a consistent rounding policy that, on average, favors neither
 28 overpayment nor underpayment.” Id. at 901. The legal standard is not whether a
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  1 rounding practice works to an employee’s disadvantage for any finite or identified
  2 time period, but instead whether the policy results in the systematic under-
  3 compensation of employees. Id.; see also Silva v. See’s Candy Shops. Inc., 7 Cal.
  4 App. 5th 235, 249 (2016) (subsequently granting summary judgment to See’s Candy
  5 on rounding claim despite fact that rounding disadvantaged the plaintiff).
  6            Following See’s Candy, at least three state court decisions held that rounding
  7 is permissible even though the net effect of rounding reduces recorded work hours
  8 for some employees or even in the aggregate for a class of employees. Importantly,
  9 the reductions in these cases were sometimes greater than the net reduction caused
 10 by Cox’s rounding system over five years.
 11            First, in AHMC Healthcare, Inc. v. Superior Court, 24 Cal. App. 5th 1014
 12 (2018), the court of appeal affirmed a summary adjudication of a rounding claim in
 13 favor of the hospital defendant and held that its use of a payroll system that
 14 automatically rounded employee time to the nearest quarter hour complied fully
 15 with California law. Id. at 1027. The court held that the rounding system at issue
 16 was neutral on its face and in practice, as the system did not systematically
 17 undercompensate employees over time. Id. The court found it immaterial that, with
 18 regard to the two plaintiffs, the rounding system had “reduced” their total work
 19 hours over time. Id. at 1027-28. Rather, the material question was whether the
 20 rounding system increased time in a sizable percentage shifts and decreased it in a
 21 sizable percentage of others. Even though employees who experienced a reduction
 22 averaged a loss of 2.33 minutes per shift worked, the court still concluded that the
 23 rounding system was sufficiently “evenhanded” and thus reversed the denial of the
 24 employer’s summary adjudication motion. Id. at 108 n.4, 1028.
 25            Then, in 2019, the California Court of Appeal again upheld a quarter-hour
 26 rounding policy in Ferra v. Loews Hollywood Hotel, LLC, 40 Cal. App. 5th 1239,
 27 1254-55 (2019). The court held the rounding system lawful as a matter of law even
 28 though rounding increased the putative class’s daily work hours in only 22.8% of
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  1 the shifts. Notably, Ferra held that even where the net effect of a quarter-hour
  2 rounding system is to slightly reduce employees’ overall compensation, such
  3 statistical differences do not qualify as a “systematic under-compensation”
  4 necessary to render a rounding system unlawful. Id.
  5            Third, just last year, the California Court of Appeal decided David v. Queen
  6 of the Valley Med. Ctr., 51 Cal. App. 5th 653, 658 (2020) in which a similar even-
  7 handed rounding system resulted in the reduction of more time entries than it
  8 increased, and the net effect of rounding on average of rounding reduced hours
  9 worked by 1.56 minutes per shift (a .26% reduction of aggregate hours worked).
 10 The trial court granted (and the court of appeal affirmed) summary judgment to the
 11 employer on the ground that such a small discrepancy in a system that automatically
 12 rounded to the nearest set increment did not violate California law. Id. at 659-60,
 13 664-65 (noting that a .26% aggregate reduction from rounding “statistically
 14 meaningless”).
 15            In addition, because this case is in federal court where Ninth Circuit precedent
 16 controls, the Court is bound to follow Corbin v. Time Warner Ent., 821 F.3d 1069,
 17 1076-77 (9th Cir. 2016), which also held rounding to the nearest 15 minutes to be
 18 lawful even where it decreases employees’ total hours in specific cases. Notably,
 19 the Ninth Circuit commented that, even though the California Supreme Court had
 20 never formally held that See’s Candy (or its progeny) was correctly decided, the
 21 Ninth Circuit must follow California appellate cases unless there is a clear indication
 22 the California Supreme Court will reject them, especially where the DLSE has long
 23 held the same enforcement position. 18 Id. at 1076, n. 4.
 24            There is no way to reconcile the holdings of this internally consistent line of
 25 appellate authority with Plaintiff’s allegation that Cox’s time rounding system is
 26 unlawful. The rounding system here is materially indistinguishable from the ones
 27
 28
               18
                        The manual specifically cites See’s Candy in support.
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  1 upheld in these published cases in that all of the systems round clock entries to the
  2 nearest quarter hour. In each case, the system increased hours in a sizable number
  3 of shifts and decreased it in a sizable (sometimes larger) number of shifts, and even
  4 where the system as a whole reduced time more than it increased it, the courts held
  5 as a matter of law that the small differences did not create a triable issue of fact that
  6 the rounding system was unlawful. In every case where the system rounded to the
  7 nearest 15 minute increment, the Court granted summary judgment to the employer.
  8            Plaintiff trumpets the metric that roughly four times as many UHTs
  9 experienced a net reduction of at least one minute from rounding as a net increase of
 10 at least one minute. But no court has decided the lawfulness of rounding based on
 11 the number of individuals experiencing an aggregate increase or decrease of any
 12 size. The statistic does not capture the true impact of rounding because it does not
 13 distinguish magnitude of changes, so it cannot fairly be used to assess whether the
 14 system on a day-to-day basis operated evenhandedly.
 15            Assume, for example, that there are five employees who worked over
 16 different periods of time. Two worked for just three weeks in 2019, two worked
 17 throughout 2020, and one worked an entire four-year class period. For all of them,
 18 rounding increased or had no impact on their hours between 40-60% of the shifts,
 19 but the shortest term employees ended up with a net decrease of 1 minute, the
 20 medium-term employee ended up with a net decrease of 3 minutes, and the longest-
 21 term employee ended up with a net increase of 15 minutes. The net impact of
 22 rounding for these employees was actually positive (+7 minutes), but 80% of them
 23 had their total time reduced as a result of rounding. Moreover, the analysis does not
 24 account for the length of time any of these people worked. In short, looking at the
 25 number of employees with a net decrease or increase is a poor substitute for looking
 26 at net impact for the class or the frequency that rounding increased or decreased the
 27 hours recorded by impacted shift.
 28            The Court should draw two conclusions here. First, where the facts are
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  1 materially undisputed, as they are here, as to the impact of a system that rounds time
  2 to the nearest 15 minutes on total hours worked for a class, the Court can properly
  3 decide the rounding claim on a motion for summary judgment (which is why both
  4 sides here are moving for summary judgment). Second, there is not just one, but
  5 half a dozen binding precedents that support Cox’s position and reject Plaintiff’s.
  6 Rounding to the nearest 15 minutes for timekeeping purposes is entirely lawful,
  7 which justifies granting partial summary judgment as to the First Cause of Action.
  8                     2.    The Recent California Supreme Court Donohue Case Does
                              Not Impact The Analysis
  9
               Plaintiff has previously argued and will likely argue again that the California
 10
      Supreme Court’s recent decision in Donohue v. AMN Services, LLC, 11 Cal. 5th 58
 11
      (2021) invalidates all the cases Cox cites above. Plaintiff is mistaken.
 12
               In Donohue, the California Supreme Court addressed a distinct “meal period
 13
      rounding” issue. Specifically, it addressed whether an off-duty meal period would
 14
      be deemed compliant with Labor Code Sections 226.7 and 512 when it was actually
 15
      taken after the fifth hour worked or was less than 30 minutes but rounding the time
 16
      entries would make it appear timely and the requisite 30 minutes in length. In
 17
      rejecting the notion that late or short meal periods can be “rounded” into
 18
      compliance, the Court distinguished the analysis of meal period rounding from
 19
      rounding for purposes of calculating time worked—which is the issue actually being
 20
      addressed in this motion. The Court expressly stated that it “assum[ed] the validity”
 21
      of the existing precedents on rounding for timekeeping purposes and that it was not
 22
      deciding “the validity of the rounding standard articulated in See’s Candy I.” 11
 23
      Cal. 5th at 72. As mentioned above, in the absence of the California Supreme Court
 24
      disapproving of the unbroken line of rounding authorities, this Court is bound to
 25
      follow the Ninth Circuit precedent in Corbin and the multiple state appellate
 26
      decisions set forth above. See Corbin, 821 F.3d at 1075 n. 4.
 27
               Similarly, Plaintiff may seek to confuse the issues by citing to Troester v.
 28
                                                  -12-
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  1 Starbucks Corp., 5 Cal.5th 829 (2018), where the California Supreme Court
  2 addressed the extent that California recognizes the FLSA de minimis doctrine, under
  3 which an employer could refuse to pay for work tasks it knows its employees
  4 perform after clocking out each day that take only a few minutes to perform (such as
  5 deactivating an alarm or locking up a store after closing). Unlike rounding, there is
  6 nothing “evenhanded” about simply systematically refusing to pay for work tasks
  7 because they take small amounts of time. In truth, the de minimis and rounding
  8 doctrines are completely distinct and are governed by different federal regulations.
  9 Compare 29 CFR § 785.48 (FLSA rounding regulation) and 29 CFR § 785.47
 10 (FLSA de minimis regulation). Furthermore, both the Ferra and David followed
 11 Troester, and neither court recognized Troester as relevant to the rounding analysis.
 12            In sum, Plaintiff has no case law to counter the line of cases Cox has cited the
 13 confirm that rounding time entries to the nearest 15-minute increment is lawful.
 14            B.       The Fourth Cause of Action for Inaccurate Wage Statements Fails
                        as a Matter of Law Because Cox Was Entitled to Use Lawful
 15                     Rounded Timekeeping Entries to Report Hours Worked on UHTs’
                        Itemized Wage Statements
 16
               Plaintiff has separately advanced the argument that, even assuming this Court
 17
      follows the unbroken line of binding precedents that hold that rounding is a lawful
 18
      means to measuring employee’s hours worked for purposes of calculating their pay,
 19
      such employers who round nonetheless must list on the wage statement the total
 20
      “raw” hours worked during the pay period. No case has ever adopted this view of
 21
      the wage statement laws, it is inconsistent with multiple published cases, and it also
 22
      is inconsistent with the entire notion that employers may measure employee time for
 23
      pay purposes by rounding it to the nearest increment.
 24
               The fundamental analytical error in Plaintiff’s imagined version of the law, is
 25
      that it presumes that where an employer lawfully rounds, the law views the “hours
 26
      worked” as the raw clock entries rather than the rounded clock entries. In fact,
 27
      where an employer rounds time, the rounded entries are the operative measure of an
 28
                                                  -13-
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  1 employee’s “hours worked.” The federal rounding regulation that California has
  2 adopted described rounding as an acceptable “practice of computing working time.”
  3 29 CFR § 785.48. The DLSE Enforcement Manual further explains that California
  4 “utilizes the practice of the U.S. Department of Labor of ‘rounding’ employee’s
  5 hours to the nearest five minutes, one-tenth or quarter hour for purposes of
  6 calculating the number of hours worked.” (emphasis added). The Labor
  7 Commissioner does not limit this guidance simply to determining wages paid but for
  8 “enforcement purposes” generally. DLSE Policies and Procedures Manual, § 47.3.
  9            In See’s Candy, 210 Cal. App. 4th 889, the Court of Appeal addressed and
 10 rejected the notion that rounded hours are something distinct from hours worked. In
 11 that case, the plaintiff argued that Labor Code Section 204 requires employers to
 12 pay employees all wages, and “that using unrounded figures within a finite time
 13 period is the only way to measure ‘all’ earned wages.” The court in See’s Candy
 14 rejected the entire premise of the argument that “hours worked” exist separately
 15 from the rounded figure, and noted that the governing regulation allowed the
 16 employer to measure hours worked based on rounded figures: “[T]he question
 17 whether all wages have been paid is different from the issue of how an employer
 18 calculates the number of hours worked.” Id. at 905.
 19            It is thus unsurprising that in the cases that have granted summary judgment
 20 to the employer on rounding, such a ruling has included granting summary judgment
 21 to a derivative wage statement claim. See, e.g., AHMC Healthcare, 24 Cal. App.
 22 5th at 805-06, 815-16 (noting that plaintiff had also asserted a wage statement claim
 23 that would now be subject to order requiring trial court to grant summary
 24 adjudication on all rounding claims); Lemus v. Denny’s Inc., 2015 WL 13740136, at
 25 * 16 (C.D. Cal. July 31, 2015) (dismissing rounding and derivative wage statement
 26 claim on summary judgment).
 27            Plaintiff contends that the purposes of the wage statement law is to provide
 28 employees the information to determine if their pay was calculated accurately.
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  1 While that is true as a general statement, it does not support the conclusion that the
  2 employer must list raw hours worked for the pay period that is not used to calculate
  3 their pay.
  4            To the contrary, the court in Soto v. Motel 6 Operating, L.P., 4 Cal. App. 5th
  5 385 (2016), explained that Section 226 has very specific requirements and it is
  6 improper to interpret it “broadly,” but rather courts should “apply common sense to
  7 the language at hand and interpret the statute to make it workable and reasonable.”
  8 Id. at 390, 393. Using that method of interpretation, it rejected the argument that
  9 wage statements had to show the amount of accrued vacation wages the employee
 10 earned during the pay period. The court reasoned that, even if one were to assume
 11 that accrued vacation pay qualifies as wages, interpreting Section 226(a) to require
 12 the employer to list accrued vacation each pay period would violate the rule that
 13 statutes “must be construed in context, and provisions relating to the same subject
 14 matter must be harmonized to the extent possible.” Id. at 392. Because the purpose
 15 of listing wages earned was so employees could see that it matched the value of
 16 their paycheck, requiring listing accrued vacation that was not paid out in that same
 17 paycheck would be inconsistent with the reason for the reporting requirement. Id. at
 18 392-93; Accord Magadia v. Wal-Mart Assocs., 999 F.3d 668, 680-81(9th Cir. 2021)
 19 (rejecting broad interpretation that would require employers to list an hourly rate
 20 and hours worked figure for overtime true-ups paid on quarterly bonuses).
 21            The same logic applies here. The purpose of listing the “hours worked”
 22 figure on a wage statement is so the employee can see what the employer listed as
 23 the hours worked for purposes of calculating his or her wages. If the law permits
 24 employers to use rounded time entries for that purpose (which is plainly does), then
 25 the employer must list the hours worked figure it lawfully uses to calculate wages,
 26 as the employee would have no way to determine from seeing the aggregate “raw
 27 hours” for the two-week pay period whether the employer had actually rounded
 28 every time clock entry to the nearest 15 minutes. To know that, the employer would
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  1 be required to list on the wage statement each raw and rounded punch, an exercise
  2 even Plaintiff does not advocate. Requiring the employer to list both the total
  3 rounded and unrounded hours over a 14-day pay period would only cause employee
  4 confusion and create an administrative burden on employers who round time with
  5 no benefit to the employee whatsoever. A “common sense” reading of the law that
  6 presumes that rounding is an acceptable practice would not interpret the wage
  7 statement law in such an arbitrary manner. See Steinhebel v. Los Angeles Times
  8 Communications, 126 Cal. App. 4th 696, 709 (2005) (explaining that courts should
  9 avoid adopting novel interpretations of the Labor Code that suddenly declare
 10 longstanding accepted practices to be unlawful)
 11            In sum, there is no triable issue of fact here whether Cox listed the items
 12 required on the wage statement accurately. The only claimed inaccuracy—listing
 13 rounded time as hours worked rather than raw time—is not an error at all, but is
 14 simply part and parcel of how an employer who rounds time is supposed to report
 15 hours worked. Accordingly, Cox respectfully requests that the Court grant
 16 classwide summary judgment as to the Fourth Cause of Action.
 17            C.       Plaintiff’s Wage Statement and Final Pay Claims Fail for the
                        Separate Reason That Cox Had a Reasonable Good Faith Belief
 18                     That Its Rounding System Was Lawful
 19            Separate and apart from the question of whether the Court holds that Cox’s
 20 system of rounding UHT time to the nearest 15 minutes is lawful, Cox is entitled to
 21 partial classwide summary judgment on the class claims to recover wage statement
 22 or waiting time penalties arising from its rounding system. Both Labor Code
 23 Sections 203 and 226(e) recognize a good faith defense to the award of penalties
 24 where the employer honestly and reasonably believed that it had paid all wages
 25 owed and reported such times accurately on the wage statement. Under Section
 26 203, a violation must be “willful” to trigger penalties while under Section 226(e) it
 27 must be “knowing and intentional.”
 28
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  1            The California Supreme Court has expressly held that the award of waiting
  2 time penalties is not “willful” where, as here, the employer has a reasonable good
  3 faith believe that no wages were owed. Smith v. Rae-Venter Law Group, 29 Cal.
  4 4th 345, 354 n.3 (Cal. 2002). The California Supreme Court has also held that,
  5 under the Labor Code, the terms “willful” and “knowing and intentional” are
  6 functional equivalents. Ex Parte Trombley, 31 Cal. 2d 801, 807-08 (1948); see also
  7 Woods v. Vector Marketing Corp., 2015 WL 2453202, at *4 (N.D. Cal. May 22,
  8 2015) (relying on Trombley to interpret “knowing and intentional” element of Labor
  9 Code Section 226(e) as equivalent to “willful.”).
 10            Here, Cox not only reasonably relied on the DLSE guidance and a long line of
 11 precedent that consistently held that rounding to the nearest 15 minutes was lawful,
 12 but a court issued a judgment in Cox’s favor on the very issue in another class action
 13 brought on behalf of the same putative employee class, Lassiter v. CoxCom, Inc.,
 14 Case No. 37-2008-00084510-CU-OE-CTL. 19 Although the class was never certified
 15 there, the trial court answered the question whether the rounding system as a whole
 16 was lawful without limiting its analysis to how the system impacted the named
 17 plaintiff. Where a court rules that an employer’s pay system is lawful, and the
 18 employer continues to operate under that system for the next 10 years without any
 19 material change in the law, that qualifies as the employer “reasonably and in good
 20 faith” understanding that its system is lawful. To impose penalties on Cox for non-
 21 compliance with laws with which the courts expressly informed Cox complied with
 22 the law would be fundamentally unfair and inconsistent with the text of Sections
 23 203 and 226. See Amaral v. Cintas Corp. No. 2, 163 Cal. App. 4th 1157, 1202-03
 24 (2008) (where employer relied on taxing authority guidance that it did not owe
 25 further wages, imposition of waiting time penalties improper); Cf. Frank v.
 26
 27             A copy of the trial court’s order is attached as Exhibit B to the
               19

 28 concurrently-filed Appendix of Evidence.
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  1 McQuigg, 950 F.2d 590, 598-99 (9th Cir. 1991) (Postal Service entitled to good
  2 faith defense where it relied on DOL opinion letters approving its practice).
  3            D.       Plaintiff’s Derivative Final Wage, Unfair Competition and PAGA
                        Claims Fail Because They Require a Finding That Cox’s Rounding
  4                     System Resulted in Cox Failing to Pay Wages Owed to UHTs
                        and/or Misreporting Their Hours Worked
  5
               Both the Fifth and Sixth Causes of Action for unfair competition and PAGA
  6
      violations, respectively, borrow other Labor Code violations and award additional
  7
      remedies for those same violations. Thus, where the underlying claims fail as a
  8
      matter of law, so too do the PAGA and unfair competition claims. See Steinhebel,
  9
      126 Cal. App. 4th at 712 (derivative unfair competition and waiting time penalties
 10
      claim fail with underlying Labor Code claims); Price v. Starbucks Corp., 192 Cal.
 11
      App. 4th 1136, 1147 (2011) (same as to derivative PAGA claims). For these
 12
      reasons, Cox respectfully requests that the Court grant classwide summary judgment
 13
      of the Fifth and Sixth Causes of Action to the extent they are derivative of the First
 14
      and Fourth Causes of Action even though the PAGA claims based on the same
 15
      underlying theories of wrongdoing are not technically part of the certified claims.
 16
      IV.      CONCLUSION
 17
               Based on the foregoing, Cox respectfully requests that this Court grant
 18
      classwide summary judgment in Cox’s favor as to all the certified claims and to the
 19
      derivative PAGA claims.
 20
 21 DATED: September 27, 2021 SHEPPARD MULLIN RICHTER & HAMPTON LLP
 22
 23                                    By       /s/ Thomas Kaufman
                                                         THOMAS R. KAUFMAN
 24                                                       Attorneys for Defendants
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 25                                                 and COX COMMUNICATIONS, INC.
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